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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA                              )
                                                      )
       PLAINTIFF,                                     )
                                                      )
       VS.                                            ) NO. 05-CR-40022-JPG
                                                      )
DEVERON MARK MURPHY,                                  )
                                                      )
       DEFENDANT.                                     )

                                    MEMORANDUM AND ORDER

       This matter before the Court on defendant Deveron Mark Murphy’s motion for an extension of time

to file a motion under 28 U.S.C. § 2255 (Doc. 141). The Court notes that § 2255 itself provides no authority

for the Court’s granting an extension of the one-year deadline. However, because the one-year deadline is

procedural and not jurisdictional, a late filing may be excused at the time of filing by equitable tolling or

estoppel. Taliani v. Chrans, 189 F.3d 597, 598 (7th Cir. 1999), United States v. Marcello, 212 F.3d 1005,

1010 (7th Cir. 2000). Nevertheless, the Court cannot grant a pre-filing extension. For this reason, the Court

DENIES Murphy’s motion (Doc. 141).

       The Court notes that Murphy’s motion is not accompanied by a certificate of service as required by

Federal Rule of Civil Procedure 5(d) and/or Federal Rule of Criminal Procedure 49. The Court WARNS

Murphy that future filings that fail to have the appropriate certificate of service may be summarily stricken.

       IT IS SO ORDERED.
       DATED: December 28, 2006

                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT, DISTRICT JUDGE
